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EXHIBIT

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IDAHO COUNCIL OF GOVERNMENTS

Connecting Business, Community, Government in Southwest Idaho

125 E. 50TH STREET | GARDEN City, ID 83714 | P (208) 322-7033 | (800) 859-0321 | F (208)3 22.3569

 

November 14, 2013

Hand-Delivered
Governor C.L. “Butch” Otter
Idaho Statehouse

Re: Idaho Commission on Aging
Dear Governor Otter:

The Idaho Council of Governments (ICOG) is the parent agency for the Area Agency on Aging
Serving Southwest Idaho. Our Board members include elected officials representing the ten
counties of Southwest Idaho. As such, we are very interested in protecting the well-being of the
senior citizens residing in our communities.

It should be noted that our region has been for many years the top performing Area Agency on
Aging (AAA) in Idaho and has implemented performance methodologies to increase
effectiveness and decrease overhead. Even so, as a result of ICOA’s noncompliant intrastate
funding formula, our region is significantly underfunded and understaffed for the large
population we are required to serve pursuant to State and Federal requirements. This should be
alarming to the Governor's office because funding for critical services in our region (such as
statutorily mandated Adult Protection) is not adequate.

The Board has become increasingly concerned with actions taken by the Idaho Commission on
Aging (ICOA) which we believe are extremely damaging to our AAA, as well as Idaho’s other
AAAs and the seniors they serve.

Previously, ICOA has appropriately recognized the independence of the AAAs and afforded
them the flexibility accorded by the Older Americans Act (OAA). Local flexibility in service
provision, a hallmark of OAA programs, was eloquently described by Josefina G. Carbonell,
Former Assistant Secretary for the federal Administration on Aging, in Program Instruction
(AoA)-PI-07-01 dated April 19, 2007 as follows:

With this expectation, AoA also reinforces its commitment to State and local
flexibility in crafting and executing programs that fulfill the mission and vision of
the OAA and of AoA. Flexibility and innovation have resulted in the development
and testing of best practices by the Aging Network that provided the basis for the
principles of modernization that are now embedded in the OAA. As States
develop their plans to meet the mission and vision of the OAA, we
encourage them to offer the same flexibility to area agencies and
community service providers to ensure that they can best meet the unique
needs of their communities within the context of the OAA. (Emphasis added)

 

 

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However, beginning in May of this year, COA suddenly began to implement significant system
and program changes that are detrimental to idaho's seniors and appear to be arbitrary,
overreaching, and lacking sufficient foundation. Many of ICOA's new policies, procedures, and
mandates in fact go against existing laws and rules.

These changes were made without any substantive discussion or collaboration with the AAA
Directors, AAA Advisory Council members, or even iICOA's own Commissioners. In fact, during
a meeting with our AAA which included the {COG Board Chair, Commissioner Gordon
Cruickshank, the Advisory Council. Vice Chair, Representative Darrell Bolz, the ICOG President,
Dr. Kendra Kenyon, and the AAA Director, Sarah Scoit, |COA’s current Administrator, Sam
Haws, stated that she did not consider the collective knowledge, skills and expertise of the AAA
Directors and staff to be of any value in setting the course for Idaho’s aging services. By his
words and actions during this meeting, it was apparent that Ms. Haws’ Deputy, Jeff Weller,
maintains this same view.

One particularly destructive aspect of ICOA’s numerous changes has been the inadequate
amount of time allowed to the AAAs for implementation. For example, COA announced on May
2, 2013, significant changes in how the AAAs can plan and allocate funding for services. ,
Although these changes significantly reduced the AAAs’ funding of internal operations, both
administrative and programmatic, the AAAs were allowed only two months to implement.

As a result, the AAAs were forced to discontinue in-home visits to many seniors receiving
services and to lay off a number of staff members with little or no notice to these valued and
committed individuals (many of whom were long-time AAA employees). Two valuable and
knowledgeable Area Agency Directors have since quit, frustrated by ICOA's lack of
collaboration and also ICOA’s lack of comprehension of the operational challenges involved in
implementing the mandated changes with such inadequate advance notice.

Although ICOA billed these budget mandates as a way to “get more services on the ground to
seniors,” ICOA itself has not cut one dime out of its $1.6 million budget, all of which we assert is
strictly administrative. They further have a choice to fund the AAAs’ administrative operations
based on the total funding available before they take their cut. However, they choose not to,
leaving significantly less money for AAA operations. At the same time, it appears that ICOA has
increased its employee benefits for its already handsomely paid staff, in addition to apparently
allocating more than the mandated 5% of federal funding for administrative costs. A significant
amount of state funding (more than 10%) is also being retained by the ICOA for administration.

Idaho's AAAs and their parent agencies (all of which are non-profit entities) already work within
extremely constrained budget parameters. With only two months’ notice, the AAAs
understandably experienced great difficulty trying to implement ICOA’s changes in a manner
that would not cause a significant disruption to their business operations and services to the
senior and disabled population served. In response to their numerous requests for
consideration and help, Ms. Haws instead sent the following e-mail to the AAAS and their parent
agencies (bold in original):

Dear Executive Directors and AAA Directors,

The current Performance Based Agreement between the Idaho Commission
on Aging (ICOA) and the Area Agency on Aging (AAA) will expire on June
30, 2013. In order for payment for services to continue by July 1, 2013, the

 

 

 

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AAA needs to submit an approved budget that complies with the guidelines
as provided to the AAA on May 24, 2013 and a signed Agreement by COB
June 28, 2013.

If the AAA is unable to meet these budget guidelines, ICOA will assume all
services under the expired SFY13 Performance Based Agreement on July
4°. In order to ensure the continuation of services, ICOA will need the
following documentation by the dates listed below:

e Active adult protection files: Submit to ICOA by Friday, June 28".

e Active provider contracts and agreements: Submit to ICOA by
Friday, June 28". -

e Turn over the remaining files to ICOA by July 25°:
o Last three years of all program files
o Last three years of all financial records
e Submit final invoice by July 25".
End of email.

ICOA, with a staff of 13 individuals who perform only administrative tasks, would be completely
and utterly incapable of providing appropriate and necessary services to the thousands of
clients served by Idaho’s AAAs, especially those individuals who are Adult Protection clients,
and, by definition, are unable to “make, communicate, or implement decisions in their own best
interests.” In light of !COA’s willingness to put seniors at risk rather than truly collaborating with
the AAAs and their parent agencies to recognize and appropriately address any perceived
issues, it is obvious that Idaho’s seniors and their needs are not of any real concern to your
Commission on Aging department. ,

As:a result of its actions, ICOA has destroyed the collaborative relationship it had begun to
develop with the AAAs following the replacement of ICOA’s previous Administrator, Kim
Toryanski, and significantly damaged the operations of each and every one of the AAAs. This
agency alone has lost two Directors of Finance (one on July 1 and her replacement in October).
As noted above, two long-time and well-respected AAA Directors also resigned in protest of
ICOA’s actions amid a growing awareness of ICOA’s unwillingness to work respectfully and
collaboratively.

In addition, we are offended by Ms. Haws’ baseless reduction of |COG's President's percentage
allocation of time in our AAA budget. Our President's percentage allocation as set forth in our
AAA budget was initially approved in writing by Ms. Haws on June 27, 2013. During a meeting
at our office on August 23, 2013, our Board Chair and President attempted to discuss with Ms.
Haws and her deputy a variety of issues, including the statutorily non-compliant intrastate
funding formula. Soon thereafter, apparently in retaliation for asking these questions, Ms. Haws
arbitrarily and without foundation reduced our President's time allocation (funding) so
significantly that we are being forced to terminate our President's employment effective January
1, 2014.

 

 

 

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It is alarming that the reduction in funding resulting in the loss of this executive's employment
happened only after potential statutory violations were brought to ICOA’s attention. For
decades, the allocation was never an issue, and for the year in question the budget had already
been approved. There is a clear nexus between what appears to be legitimate AAA advocacy
activities and Ms. Haws’ tortious interference with the contractual expectation of this executive
and her right to exercise free speech.

We are experiencing an all-time high demand for services to seniors and this demand will
continue to grow. As you are probably aware, Idaho's population of individuals aged 60 and
older is expected to triple by 2040: Idaho’s aging network must work together to face these ~
challenges. The bottom line is that our communities, Idaho's vulnerable seniors, and those in
need have been and will continue to be negatively impacted by an Idaho Commission on Aging
that insists on creating silos, reducing a 40-year old aging network to numbers on a
spreadsheet, and refusing to work collaboratively with the AAAs.

We have no confidence in the ability of Ms. Haws or her deputy, Jeff Weller, to properly and
adequately serve as your representatives for Idaho's aging network and the seniors we serve.
We believe their actions demonstrate that they are more interested in trying to “be right’ rather
than trying to “do the right thing” in the best interest of Idaho's citizenry.

We believe the senior citizens residing in southwest Idaho would be outraged that our region is
not receiving the funding to which it is entitled under the Older Americans Act and that ICOA is
making unilateral decisions that are not in the best interests of }daho’s aging network and those
we serve.

We respectfully request that you appoint to the critical position of ICOA Administrator someone
who has the passion, educational background, and expertise needed to serve our valued senior
citizens. We also respectfully request that Idaho’s AAAs be represented and allowed the
opportunity to provide input during the process of evaluating and eventually appointing a
replacement for the ICOA Administrator.

We would very much appreciate the opportunity to discuss with you, in person, the issues we
have provided as examples, as well as other concerns we have, and request a meeting to be
scheduled in the very near future.

Respectfully, 4
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Gordon Cruickshank, Valley County Commissioner and ICOG Board Chair

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Craig Hanson, Canyon County Commissioner and ICOG Board Member

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Lan Smith, Gem County Commissioner and [COG Board Member

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Dr. Kendra Kenyon, ICOG President

Sarah E. Scott, J.D., Director, Area Agency on Aging
Bruce Krosch, CPM, Advisory Council Chair

Rep. Darrell Bolz, Advisory Council Vice-Chair

Danna Barnhart, AAA Advisory Council Member

Robbi Barrutia, AAA Advisory Council Member

Carol Briggs, AAA Advisory Council Member

Connie Cruser; AAA Advisory Council Member

Leonard Elfering, AAA Advisory Council Member

Debbi Evans, AAA Advisory Council Member

Brooke Green, AAA Advisory Council Member

Sarah Johnnes, AAA Advisory Council Member

Cynda Herrick, AAA Advisory Council Member

Peggy Munson, AAA Advisory Council Member

Rich McCuskey, AAA Advisory Council Member

Jamie Simpson, AAA Advisory Council Member

Dr. Sarah Toevs, AAA Advisory Council Member

Dr. Stephanie Bender-Kitz, AAA Advisory Council Ex Officio Member
Mike Berlin, AAA Advisory Council Ex Officio Member
Sharon Melvej, AAA Advisory Council Ex Officio Member
Dr. Meredith St. Clair, AAA Advisory Council Ex Officio Member

 

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ECONOMIC DEVELOPMENT DISTRICT

REGION II
